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                          District of Columbia
                           Court of Appeals

No. 19-BG-222

IN RE JASON LEE VAN DYKE
                                                    2019 DDN 25
A Member of the Bar of the
District of Columbia Court of Appeals

Bar Registration No. 1027245

BEFORE: Fisher, Thompson, and Easterly, Associate Judges.


                                   ORDER
                              (FILED- June 6, 2019)

       On consideration of the two separate certified orders from the state of Texas
wherein respondent admitted that in one case he threatened a party with civil or
criminal action to gain an advantage in a civil matter and in another matter he
threatened an individual with physical violence and respondent further agreed that
his cumulative discipline for these two matters should be an eighteen-month
suspension from the practice of law, all but three months stayed, followed by a
fifteen-month period of probation subject to the conditions imposed by the state of
Texas; this court’s March 25, 2019, order suspending respondent and directing him
to show cause why reciprocal discipline should not be imposed; and the statement
of Disciplinary Counsel regarding reciprocal discipline; and it appearing that
respondent failed to file a response to this court’s show cause order; and it further
appearing that respondent filed his D.C. Bar R. XI, §14(g) affidavit on April 22,
2019, it is
    Case: 1:24-cv-00642-BMB Doc #: 18-3 Filed: 07/11/24 2 of 2. PageID #: 161




      ORDERED that Jason Lee Van Dyke is hereby suspended from the practice
of law in the District of Columbia for a period of eighteen months, nunc pro tunc to
April 22, 2019, all but three months of the suspension stayed, followed by a fifteen-
month period of probation subject to the conditions imposed by the state of Texas.
See In re Sibley, 990 A.2d 483 (D.C. 2010); In re Fuller, 930 A.2d 194, 198 (D.C.
2007) (rebuttable presumption of identical reciprocal discipline applies to all cases
in which the respondent does not participate).




                                PER CURIAM
